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   Case   -- - - -
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                                  IN THE UNITED STATES DISTRICT COURT
                                     FOR THE DISTRICT OF DELAWARE

            TWINSTRAND BIOSCIENCES, INC. &
            UNNERSITY OF WASHINGTON,

                                Plaintiffs,

                                    V.                               C.A. No. 21-1126-GBW-SRF
            GUARDANT HEALTH, INC.,
                               De endant.

                                                     VERDICT FORM

                  Instructions: When answering the following questions and completing this Verdict

           Form, please follow the directions provided and the Jury Instructions that you have been given.

           Your answer to each question must be unanimous. Some of the questions contain legal terms that

           are defined and explained in the Jury Instructions. Please refer to the Jury Instructions if you are

           unsure about the meaning or usage of any legal term that appears in the questions below.

                  As used herein:

                  1.      "Plaintiffs" refers to Plaintiff University of Washington ("UW") and Plaintiff
                          TwinStrand Biosciences, Inc. ("TwinStrand"), collectively.

                  2.      "Guardant" refers to Defendant Guardant Health, Inc.

                  3.      "UW and TwinStrand' s Asserted Patents" refers to U.S . Patent Nos. 10,287,631
                          and 10,760,127.

                  4.      The " ' 631 patent" refers to U.S. Patent No. 10,287,631.

                  5.      The"' 127 patent" refers to U.S . Patent No. 10,760,127.
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                                      QUESTIONS AND ANSWERS

          We, the jury, unanimously find as follows .

    1. Infringement of UW and TwinStrand's Asserted Patents

       1.1. Infringement

          1.1 .1. Have UW and TwinStrand proven by a preponderance of the evidence that
                  Guardant infringed any of the following claims of the '631 patent? (A "Yes"
                  answer is a finding for UW and TwinStrand; a "No" answer is a finding for
                  Guardant.)

                           For each asserted claim, please check "Yes " or "No" below.

                                         Yes (UW and TwinStrand)             No (Guardant)

                           Claim 1                  ✓
          1.1.2. Have UW and TwinStrand proven by a preponderance of the evidence that
                 Guardant infringed any of the following claims of the '127 patent? (A "Yes"
                 answer is a finding for UW and TwinStrand; a "No" answer is a finding for
                 Guardant.)

                        For each asserted claim, please check "Yes " or "No " below.

                                         Yes (UW and TwinStrand)             No (Guardant)

                           Claim 24                ✓
                           Claim 30                V




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    2. Willfulness with Respect to UW and TwinStrand's Asserted Patents

        You are only to answer question 2.1.1 below ifyou have found one or more of the asserted
    claims ofUW and TwinStrand's Asserted Patents infringed in section 1 above.

           2.1.1. Have UW and TwinStrand proven by a preponderance of the evidence that
                  Guardant's infringement of any asserted claim was willful? (A "Yes" answer is a
                  finding for UW and TwinStrand; a ''No" answer is a finding for Guardant.)

                         Yes (UW an✓Strand)                   No (Guardant)




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    3. Damages with Respect to UW and TwinStrand's Asserted Patents

        You are only to answer question 3.1.1 below ifyou have found one or more of the asserted
    claims of UW and TwinStrand 's Asserted Patents infringed in section 1 above.

           3.1.1. What is the total amount you determine to be a reasonable royalty to compensate
                  the University of Washington and TwinStrand for Guardant's infringement of the
                  asserted patents?

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   4.       Damages (Details of Calculation)

            Please answer the following questions only if you awarded any amount in answer to question
   3.1.1.



            4.1.1.   What royalty rate did you apply in arriving at the amount of damages awarded in
                     answer to 3.1.1?



                                                     %



            4.1.2.   What is the amount of the revenue base to which you applied the royalty rate?




                     $


            4.1.3.   What amount of the revenue base, if any, was revenue for sales of Guardant's services?
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                                        UNANIMOUS VERDICT

            Upon reaching a unanimous verdict on each question above, each juror must sign below.

           We, the jury, unanimously agree to the answers to the above questions and return them

    under the instructions of this Court as our verdict in this case.




    Dated: ____,_
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